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Case 1:18-cV-00392-I\/|AD-CFH Document 7 Filed 04/13/18 P'i\!g§ lch§TSNCT C
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N.D. OF N.Y.

   

UNITED STATES DISTRICT CoURT FORR 1 3 2018

THE NORTHERN DIsTRICT oF NEWWWRKBAEHMA~, ctqu

~ 445 Broadway;Albany, NY12207-2936 ALBANY

   

 

John Vidurel<, Gerard Aprea, et al w Jurisdiction: Court of Record, under
Plaintiffs the rules of Common Law1

» Against -
Case NO: 1:18-cv-392
Governor A. Cuomo, NeW York State Senate
and NeW York State Assembly

 

 

Defendants ADDENDUM TO
J ACTION AT LAW2
NEW YoRK STATE )
):SS.
DUTCHEss CoUNTY )

Add two (2) Affidavits attached and replace the WHEREFORE clause in the above
Action at LaW dated March 31St 2018 and file on April 2“d 2018 With the following

WHEREFORE clause:

WHEREFORE, plaintiffs demand and prosecute for; Governor A. Cuomo, N.Y.S. Senate
and N.Y.S. Assembly cease all unconstitutional actions and stop blindly approving BAR
legislation into laws that are repugnant to the Constitution. All legislation is to state
clearly by What authority they act upon.

Plaintiffs demand and prosecute for; all legislative infringements upon the second
Amendment null and void in the United States including and not limited to Safe Act,

 

l "A Court of Record is a judicial tribunal having attributes and exercising functions independently of the person of the
magistrate designated generally to hold it, and proceeding according to the course of common law, its acts and proceedings
being enrolled for a perpetual memorial." Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229; Ex parte Gladhill, 8 Metc.
Mass., 171, per Shaw, C.J. See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689.

2 AT LAW: [Bouvier's] This phrase is used to point out that a thing is to be done according to the course of the common
law; it is distinguished from a proceeding in equity.

ACTION AT LAW PAGE 1 oF 2 VlDUREK, ET AL -A- CUOMO, ET AL

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N.Y.S. Code §265.20, §265.01, §700.00, §400.00, §265.00, §265.02, §265.35, §35.20,
§265.10, §2230 and the court is to direct all County Sheriffs to protect the People, from
state and federal law enforcement agents who are to cease and desist all abuse against
the plaintiffs and the People of New York for the exercising of our unalienable “right to
keep and bear Arrns”, protected by the Z“d Amendment.

Plaintiffs demand and prosecute defendants for $50,000 (collectively), in lawful face
value money such as Morgan Silver Dollars, for damages such as psychological stress
and fear of violence upon our person and for placing our families in jeopardy of harm
and even death. And for violating our unalienable right to keep and bear arms.

US Constitution Article I Section 10. “No state shall make
anything but gold and silver coin a tender in payment Ofdebts;”

Plaintiffs with this acti'en ;,11\<.1.|1 file for an injunction against the state concerning the
reporting of our firearms to the state police. lf the judiciary fails to do their sworn duties
to uphold the law and protect the People, plaintiffs sue defendants for an additional
$1,000 per day from the refusal date for injunction to the day of judgment for each of
the defendants; [e.g. 100 days x $1000 = $100,000 each plaintiff|.

Quotiens dubia interpretatio libertatis est, secundum libertatem respomlendum erit:3

SEAL

 

 

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In New York State, Dutchess County, 011 the 6'h day of April 2018 before ing / far/m L "';-lo/ lL/ 2 f 1
the undersigned Notary Public, personally appeared John Vidulel <, to me k'iiown mytht; d_living man described
herein, who executed the forgoing instrument, and has sworn before /911':5 that he/s _ executed the same as his/her

ficc- will act and deed. jr
114',"; \H'§r F"“¢‘AW“’ W.`;S" .¢

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' My Commission Expircs

 

 

3 Whenever there is a doubt between liberty and slavery, the decision must be in favor of liberty. Dig. 50, 17, 20.
ACTION AT LAW PAGE 2 OF 2 VIDUREK, ET AL -A- CUOMO, ET AL

Case 1:18-cV-00392-I\/|AD-CFH Document 7 Filed 04/13/18 Page 3 of 6

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I .\§i¢’_r/lr’)\/ MUU~€`Z, _ , Afi~iant, being of lawful age, qualified and competent to
testify to and/having first-hand knowledge of the following facts do hereby swear that the
following facts are true, correct and not misleading: f*_

The Second Amendment guarantees a fundamental right that belongs to me as one of the
People of New York. The Constitution does not create a right it secures our God Given Right
to defend our-selves and our families.

New York Govemor :Andrew M. Cuomo and all New York ‘State Assemblyman and Senators
through intimidation and threat of violence have made it clear that if I am not obedient to their
will they will take my arms using arms 1by force under color of law thereby placing extreme
psychological stress and fear of violence upon my person and place my family in jeopardy of
harm and even death.

New York Governor Andrew M. Cuomo and all New York State Assemblyman and Senators
are in violation of the following:

New York Governor Andrew M. Cuomo and all New Yorl<‘State Assemblyman and Senators
have conspired to inHinge upon and violate my unalienable right to defend in violation of 18,
USC 241 ; CONSPlRACY AGAINST RIGHTS by conspiring to oppress, threaten, and
intimidate me and my family by infringing upon my free exercise and enjoyment of my
unalienable right secured by the 2ND Amendment.

New York Governor Andrew M. Cuomo and all New York State Assemblyman and Senators
have conspired to infringe upon and violate me and my family’s unalienable right to defend in
violation of 18 U.S. Code § 242 by depriving my unalienable right to defend under the color of
law.

New York Governor Andrew M. Cuomo and all New York State Assemblyman and Senators
have conspired to infringe upon and violate me and m_y family’s unalienable right to defend in
violation of 42 USC 1983; CIV[L ACTlON FOR DEPRIVATION OF RIGHTS by acting
under color of statute to deprive my unalienable right to defend secured by the ZND
Amendment.

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New York Governor Andrew M. Cuomo and all New York State Assemblyman and Senators
have conspired to infringe upon and violate me and my family’s unalienable right to defend in
notation of 42 Usc 1985(3); coNsPIRAcY ro INTERFERE WrrH crvIL RIGHTS:
depriving me the equal protection of the laws and by acting under color of statute to deprive
my unalienable ri ght-. to defend secured by the ZND Amendment. ‘

New York Govemor Andrew M. Cuomo and all New York State Assemblyman and Senators
have conspired to infringe upon and violate me and my family’s unalienable right to defend in
violation of 42 USC §1986 for neglecting to protect my unalienable right to defend secured by
the ZND Amendment. r

New York Governor Andrew M. Cuomo and all New York State Assemblyman and Senators
have conspired to infringe upon and violate me and my family’s unalienable right to defend in
violation of 18 USC § 23 84 by way of a seditious conspiracy by levying war against the People
by forcing their authority under color of law by force to seize my arms with arms by force if I
do not submit `

New York Governor Andrew M. Cuomo and all New York State Assemblyman and Senators
have conspired to infringe upon and violate me and my family’s unalienable right to defend in
violation of 18 USC § 23 82 - Misprision of treason. New York Governor Andrew M. Cuomo
and all New York State Assemblyman and Senators owe allegiance to the People and thereby
had a duty to protect

Wherefore l sue for protection of rights and monetary damages in the amount $50,000

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NOTARY

New York State, § jaffng County on this ¢fgw‘ day of §§ £¢é 201 8; before me
._`Z;Em¢,'g cl §QKZH §§ , the subscriber, personally appeared dean o /Uua.=a to

me known to be the living (wo)man describe in and who executed the forgoiiig instrument and sworn
before me that he executed the same as his free Will act and deed.

'~ M.i:'¢nu`a_ 'd' ( Q.o_."-L¢-L
" ll Ngtary x-.') w `

(Notary Seal) " "` My commission expires: way/9

INOCENCIA .T. QUEZADA
Notary Public State of New York
NO. 010U6163849
Qualified In Suffolk County

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Case 1:18-cV-00392-I\/|AD-CFH Document 7 Filed 04/13/18 Page 5 of 6

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13 /)zQOLK COUNTY )

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I::Qi:‘;z‘i'. );/11‘=.”€1 r?fL CfUZ., Affrant, being of lawful age, qualified and competent to
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People of New York. The Constitution does not create a right it secures our God Given Right
to defend our-selves and our families

New York Governor Andrew M. Cuomo and all New York State Assemblyman and Senators
through intimidation and threat of violence have made it clear that if I am not obedient to their
will they will take my arms using arms by force under color of law thereby placing extreme
psychological stress and fear of violence upon my person and place my family in jeopardy of
harm and even death.

New York Governor Andrew M. Cuomo and all New York State Assemblyman and Senators
are in violation of the following:

New York Governor Andrew M. Cuomo and all New‘York State Assemblyman and Senators
have conspired to infringe upon and violate my unalienable right to defend in violation of 18,
USC 241; CONSPIRACY AGAINST RIGHTS by conspiring to oppress, threaten, and
intimidate me and my family by infringing upon my free exercise and enjoyment of my
unalienable right secured by the ZND Amendment.

New York Governor Andrew M. Cuomo and all New York State Assemblyman and Senators
have conspired to inh~inge upon and violate me and my family’s unalienable right to defend in
violation of 18 U.S. Co`de § 242 by depriving my unalienable right to defend under the color of
law.

New York Governor Andrew M. Cuomo and all New York ,State Assemblyman and Senators
have conspired to infringe upon and violate me and my family’s unalienable right to defend in
violation of 42 USC 1983; CIVIL ACTION FOR DEPRIVATION OF RIGHTS by acting
under color of statute to deprive my unalienable right to defend secured by the ZND
Amendment.

Case 1:18-cV-00392-I\/|AD-CFH Document 7 Filed 04/13/18 Page 6 of 6

New York Governor Andrew M. Cuomo and all New York State Assemblyman and Senators
have conspired to infringe upon and violate me and my family’s unalienable right to defend in
violation of 42 U`SC 1985(3); CONSPIRACY TO INTERFERE WI'I:H CIVIL RIGHTS:
depriving me the equal protection of the laws and by acting underl color 0'f statute to deprive
my unalienable right to defend secured by the QIND Amendment. 1

New York Governor Andrew M. Cuomo and all New York State Assemblyman and Senators
have conspired lto.. infringe upon and violate me and my family’s unalienable right to defend in
violation of 42 USC §1986 for neglecting to protect my unalienable right to defend secured by
the ZND Amendment. ‘ .,

New York Govemor Andrew M. Cuomo and all New York State Assemblyman and Senators
have conspired to infringe upon and violate me and my family’s unalienable right to defend in
violation of 18 USC § 2384 by way of a seditious conspiracy by levying War against the People
by forcing their authority under color of law by force to seize my arms with arms by force if I
do not submit`. ‘

New York Governor Andrew M. Cuomo and all New York State Assemblyman and Senators
have conspired to infringe upon and violate me and my family’s unalienable right to defend in
violation of 18 USC § 23 82 - Misprision of treason. New York Govemor Andrew M. Cuomo
and all New York State Assemblyman and Senators owe allegiance to the People and thereby
had a duty to protect

Whereforel sue for protection of rights and monetary damages in the amount $50,000

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NOTARY
New York State, 6 o/ f County on this ..?JH` day of §§ £¢é 2018; before me
I ¢ ° . , the subseriber, personally appeared JQ;¢- /-; m’m {’,Uz, to

 

me known to be the living (wo)man describe in and who executed the forgoing instrument and sworn
before me that he executed the same as his free will act and deed.

il Noi§ry _

(Notary Seal) My commission expircs:l 513 ' [aa/ §

I'NOCENCIA .l'. QUEZADA
Notary Public State of New York
NO. 010U6163849
O_ua!if\fed in Snii’:n_l‘a County

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